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                          BEFORE THE FEDERAL ELECTION COMMISSION


                                                   )
   In re MUR 7821                                  )



                                   DECLARATION OF YOEL ROTH

                   1.       My name is Y oel Roth. This declaration is made upon my personal

   knowledge and belief.

                   2.       I am Head of Site Integrity at Twitter, which is part of Twitter' s Trust &

   Safety department. In this role, I lead the company's Site Integrity Team, which assesses content

   posted on Twitter to determine whether it violates the company's policies.

                   3.       Visitors to the Twitter website and users of the mobile application can

   report content that may violate the company's policies. Twitter also uses machine-learning

   programs to identify content that may violate Twitter policies.

                   4.       The Site Integrity Team also receives and reviews reports, including from

   security consultants, regarding hacking incidents.

                   5.       The Site Integrity Team assesses content flagged for review under

   Twitter' s policies.

                   6.       Twitter regularly enforces its policies, including the Distribution of

   Hacked Materials Policy and Private Information Policy. The TwitterService team assists with

   implementation of such enforcement actions.
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                   7.      As a matter of practice, neither I nor the other members of the Site

   Integrity Team communicate directly with persons outside Twitter that report content for

   violating Twitter' s policies.

                   8.      For routine content moderation decisions, the Site Integrity Team makes

   enforcement decisions. For high-profile matters and content that presents more complex

   considerations, the Site Integrity Team performs an initial assessment and escalates the matter

   internally for a final enforcement decision.

                   9.      When evaluating potentially hacked material to determine if there is a

   violation ofTwitter's Distribution of Hacked Materials Policy, the Site Integrity Team considers

   public declarations of hacking as determinative. If no such claim is made, the Site Integrity

   Team considers other indicia of hacking to assess whether the material was obtained through

   hacking based on the team's experience and expertise.

                   10.     Since 2018, I have had regular meetings with the Office of the Director of

   National Intelligence, the Department of Homeland Security, the FBI, and industry peers

   regarding election security.

                   11.     During these weekly meetings, the federal law enforcement agencies

   communicated that they expected "hack-and-leak operations" by state actors might occur in the

   period shortly before the 2020 presidential election, likely in October. I was told in these

   meetings that the intelligence community expected that individuals associated with political

   campaigns would be subject to hacking attacks and that material obtained through those hacking

   attacks would likely be disseminated over social media platforms, including Twitter. These

   expectations of hack-and-leak operations were discussed throughout 2020. I also learned in




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   these meetings that there were rumors that a hack-and-leak operation would involve Hunter

   Biden.

                  12.     On October 14, 2020, I learned from media coverage that the New York

   Post had posted articles to its website that morning containing emails and other personal

   materials purportedly found on a hard drive that allegedly belonged to Hunter Biden.

                  13.     The Site Integrity Team preliminarily determined that the information in

   the articles could have been obtained through hacking, based on, among other things, the type of

   material, the sourcing described in the articles, and the information security community's initial

   reactions.

                  14.     The materials in the New York Post articles also contained personal email

   addresses and telephone numbers, and so sharing them on Twitter violated the Private

   Information Policy.

                  15.     Given the high-profile nature of the material and publisher, the Site

   Integrity Team escalated the New York Post articles for further review.

                  16.     Twitter's Trust & Safety leadership determined that the New York Post

   articles violated the Distribution of Hacked Materials Policy and the Private Information Policy

   and instructed the Site Integrity Team to execute enforcement of those policies.

                  17.     At approximately 10:20 a.m. Pacific time on October 14, 2020, the Site

   Integrity Team implemented the enforcement action. Per the procedures and sanctions set out in

   the policies, the Site Integrity Team blocked Twitter users from sharing links over Twitter to the

   applicable New York Post articles and prevented users who had previously sent Tweets sharing

   those articles from sending new Tweets until they deleted the Tweets violating Twitter's policies.




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                                 18.              I did not receive any communications from or have any communications

      with representatives of Biden for President, the Democratic National Committee, or any of their

      agents regarding the New York Post articles before Twitter implemented the enforcement actions

      on October 14, 2020.

                                 19.              To the best of my knowledge, no Twitter employee received any

      communications from or had any communications with representatives of Biden for President,

      the Democratic National Committee, or any of their agents regarding the New York Post articles

      before Twitter implemented the enforcement actions on October 14, 2020.



                                                                        ***


                                                                              Yoel Roth (De<: 17, 2020 16:J.S PST)

                                                                               Yoel Roth


                                                                               Date: Dec 17, 2020


Signature:   fbd :fpth
             Yoel Roth (Dec 17, 2020 16:15 PST)

    Email: yoel@twitter.com
    Title: Head of Site Integrity
Company: Twitter Inc.




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